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 1   J. Andrew Coombs (SBN 123881)
     andy@coombspc.com
 2   Annie S. Wang (SBN 243027)
     annie@coombspc.com
 3   J. Andrew Coombs, A Prof. Corp.
     520 East Wilson Ave., Suite 200
 4   Glendale, California 91206
     Telephone: (818) 500-3200
 5   Facsimile: (818) 500-3201
 6   Attorneys for Plaintiffs
     Seiko Epson Corporation
 7   and Epson America, Inc.
 8
                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
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11   Seiko Epson Corporation and Epson         )   Case No. CV15-05961 JFW (Ex)
     America, Inc.,                            )
12                                             )   DISCOVERY MATTER
                              Plaintiffs,      )
13          v.                                 )   ORDER GRANTING PLAINTIFFS’
                                               )   APPLICATION FOR LEAVE TO
14   Marcia Tiago, an individual and d/b/a     )   TAKE IMMEDIATE DISCOVERY
     Amazon.com Seller LSK Media; Alaska, )        PRIOR TO RULE 26(f)
15   Inc. and d/b/a Amazon.com Seller LSK )        CONFERENCE; TO CONTINUE
     Media; Adriana Forelle, an individual and )   THE RULE 26(f) CONFERENCE,
16   d/b/a Amazon.com Seller A2 Trading        )   AND TO ENLARGE TIME TO
     Corp.; A2 Trading Corp. and d/b/a         )   SERVE PROCESS
17   Amazon.com Seller A2 Trading Corp.; )
     Amazon.com Seller EY MALL; Youn           )
18   Hwan Nam, an individual and d/b/a         )
     Amazon.com Sellers channelofblessing )
19   and gonggamtop; Ji Hyun Kim, an           )
     individual and d/b/a Amazon.com Seller )
20   BizBuy International; Biz Buy             )
     International, Inc. and d/b/a Amazon.com )
21   Seller BizBuy International, and Does 1 – )
     10, inclusive,                            )
22                                             )
                              Defendants.      )
23                                             )
24         The Court has read and considered all papers filed in connection with the Ex
25   Parte Application for Leave to Take Immediate Discovery Prior to Rule 26(f)
26   Conference; Request to Continue the Rule 26(f) Conference and Request for
27   Enlargement of Time Within Which to Effect Service of Process Pursuant to Rule
28

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 1
     6(b) (“the Application”) filed by Plaintiffs Seiko Epson Corporation and Epson
 2
     America, Inc. (collectively “Plaintiffs”).
 3
           IT IS HEREBY ORDERED that the Application is granted.
 4
           IT IS FURTHER ORDERED that Plaintiffs may serve immediate discovery
 5
     on Amazon.com, Inc. (“Amazon”) by serving a Fed. R. Civ. P. 45 subpoena for the
 6
     production of documents and/or deposition, which seek information sufficient to
 7
     identify and locate Defendants Amazon.com Seller EY MALL and Youn Hwan
 8
     Nam, an individual and d/b/a Amazon.com Sellers channelofblessing and
 9
     gonggamtop (collectively “Defendants”), including names, addresses, telephone
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     numbers, the identity of the Defendants’ financial institution(s), and other email
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     address(es) and user IDs for the Defendants. Should Plaintiffs fail to learn the
12
     identity, whereabouts, or legal status of Defendants from the service of this
13
     subpoena, Plaintiffs may serve additional subpoenas seeking the same information
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     upon other persons or entities revealed by the limited discovery from Amazon.
15
           If Amazon or any subsequent necessary entity served wishes to file a motion
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     to quash the subpoenas or to serve objections, it must do so before the return date of
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     the subpoenas, which shall be no less than twenty-one (21) days from the date of
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     service of the subpoenas. Among other things, Amazon or any subsequent necessary
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     entity served may use this time to notify the subscribers in question.
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           Amazon and any subsequent necessary entity served shall preserve any
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     subpoenaed information or materials pending compliance with the subpoenas or
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     resolution of any timely objection or motion to quash.
23
           IT IS FURTHER ORDERED THAT Plaintiffs must serve a copy of this order
24
     on Amazon and any subsequent necessary entity when it serves their subpoenas.
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           IT IS FURTHER ORDERED THAT any information disclosed to Plaintiffs in
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     response to the Fed. R. Civ. P. 45 subpoena may be used by Plaintiffs solely for the
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     purpose of protecting Plaintiffs’ rights under the law.
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 1
           IT IS FURTHER ORDERED THAT the Scheduling Conference set for
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     11/23/2015 is continued to 12/28/2015 at 1:30 p.m.; joint report shall be filed by
 3
     12/21/2015.
 4
           IT IS FURTHER ORDERED THAT Plaintiffs shall have a sixty (60) day
 5
     enlargement of time within which to serve Defendants with Summons and
 6
     Complaint, and in no event later than February 2, 2015.
 7

 8
     Dated: November 9, 2015
                                                    ________________________________
 9                                                  Hon. John F. Walter
                                                    United States District Judge
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